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                                                                   October 3, 2024
VIA ECF
Honorable Michael A. Hammer
United States District Court for the
 District of New Jersey
Martin Luther King Courthouse
50 Walnut Street Room 2C
Newark, NJ 07101

       Re:     United States v. Matthew Goettsche, et al., 19-CR-877 (CCC)
               Proposed Modification of Pretrial Release Order

Dear Judge Hammer:

        Please accept this letter in lieu of a more formal motion on behalf of Defendant Matthew
Goettsche. We respectfully move for leave of the Court to permit Mr. Goettsche to temporarily
remove the lien on 4734 Essex Court, Boulder, CO 80301 (the “Essex Court House”) for (90)
days to allow Victoria Landerman, the owner of Essex Court House and a third-party custodian,
to market and sell the house for her personal use.

        As set forth in the Release Order (dkt. 171), the Court accepted the Essex Court House
along with eight other U.S. properties, collectively worth approximately $8,600,000.00, to
partially secure the $20,000,000.00 bond. The estimated equity in the Essex Court House is
approximately $600,000.00. Upon the sale of the Essex Court House, the sale proceeds will be
wired directly to Ms. Landerman for her personal use.

       The Court had previously authorized this same proposed modification on July 14, 2021
(Dkt. 195) except that the sale proceeds were originally going to be wired into an attorney
escrow account. Pretrial Services has no objection to the proposed modification, and the
government, through AUSA Anthony Torntore, consents to our requested modification.


                                                           Respectfully submitted,

                                                           /s/ Rodney Villazor

                                                           Rodney Villazor, Esq.
                                                           CLARK SMITH VILLAZOR LLP
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cc:   Matthew Menchel, Esq.
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      U.S. Pretrial Services Officer Troy Ruplinger (via e-mail)
